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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Eagle Pipe, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9525 Katy Freeway, Suite 306
                                  Houston, TX 77024
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Same as principal address
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.eaglepipe.net


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Eagle Pipe, LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Eagle Pipe, LLC                                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Eagle Pipe, LLC                                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       10/05/2020
                                                  MM / DD / YYYY


                             X      /s/ Jared Light                                                       Jared Light
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X      /s/ Paul D. Moak                                                       Date    10/05/2020
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Paul D. Moak
                                 Printed name

                                 Gray Reed & McGraw LLP
                                 Firm name

                                 1300 Post Oak Blvd., Suite 2000
                                 Houston, TX 77056
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     713-986-7000                  Email address      pmoak@grayreed.com

                                 00794316 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:
 Debtor name Eagle Pipe, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BOOMERANG TUBE                  TAMMY WESTON                                                                                                                         $5,313,388.88
 LLC
 PO BOX 84922                    tammy.weston@bo
 Chicago, IL                     omerangtube.com
 60689-4922                      636.534.5591
 RDT INC                         MARY MORALES                                                                                                                         $2,612,889.75
 PO BOX 73
 Beasley, TX 77417               mary@rdt-usa.com
                                 979.387.3242
 CENTRIC PIPE LLC                SUNNY JIN                                                                                                                            $1,388,043.29
 3626 N HALL ST
 Suite 910                       sunny.jin@centricp
 Dallas, TX 75219                ipe.com
                                 469.320.9451
 SECOR                           KELLEY SANDLIN                                                                                                                         $774,689.05
 17321 GROESCHKE
 RD                              k.sandlin@secoron
 Houston, TX 77084               line.com
                                 281.647.7620
 BEEMAC                          AMY FEDORA                                                                                                                             $739,168.56
 TRUCKING
 PO BOX 74809                    afedora@beemac.c
 Cleveland, OH                   om
 44194-4809                      724.385.8469
 HOUSTON                         AUBREE'                                                                                                                                $371,804.54
 INTERNATIONAL                   LEVASSEUR
 SPECIALTY
 19996 HICKORY                   aubree@histcpc.co
 TWIG WAY                        m
 Spring, TX 77388                281.602.7550
 ELECTRA                         KIM TRAN                                                                                                                               $246,875.00
 LOGISTICS
 SOLUTIONS                       ktran@electralogist
 2400 C ROOSEVELT                ics.com
 DR                              817.231.0306
 Arlington, TX 76016



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Eagle Pipe, LLC                                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 UNITED CASING                   ANDREA                                                                                                                                 $227,479.90
 8505 TECHNOLOGY                 BOLLETINO
 FOREST PL
 Suite 401                       abolletino@unitedc
 The Woodlands, TX               asing.com
 77381                           936.242.1187
 LUNDVALL                        TAMI LONG                                                                                                                              $184,505.41
 ENTERPRISES INC
 15487 COUNTY RD                 tami@lundvallenter
 46                              prises.com
 LaSalle, CO 80645               970.356.6781
 PRECISION PIPE                  CASSY THOMAS                                                                                                                           $156,168.95
 RENTALS LLC
 750 E MULBERRY                  cassy@precisionpi
 AVE                             perentals.com
 Suite 305                       830.299.3560
 San Antonio, TX
 78212
 HUSTEEL USA                     KEVIN KIM                                                                                                                              $139,568.49
 2222 GREENHOUSE
 RD                              Kevin@husteelusa.
 Suite 500                       com
 Houston, TX 77084               281.497.6786
 DSV ROAD INC                    DIANNA                                                                                                                                 $103,770.00
 CO R903                         KENDRICK
 PO BOX 1147
 Medford, OR 97501               dianna.kendrick@u
                                 s.dsv.com
                                 541.930.3594
 BAKER TUBULARS                  ROBERT BAKER                                                                                                                             $88,006.32
 98 WADSWERTH
 BLVD                            RBaker@bakertubu
 STE 127 #5022                   lars.com
 Denver, CO 80226                314.630.1570
 GB CONNECTIONS                  JENNA MANNELLA                                                                                                                           $71,935.11
 LLC
 PO BOX 119004                   jmannella@gbconn
 Carrollton, TX 75011            ections.com
                                 713.800.3518
 ATLAS TUBULAR                   KAREN FOSTER                                                                                                                             $70,250.87
 LP
 PO BOX 431         Karen@PipeMgt.co
 Robstown, TX 78380 m
                    832.672.6011
 DUFFY CRANE AND PAULA ROZZI                                                                                                                                              $61,161.50
 HAULING
 10180 BRIGHTON R prozzi@duffycrane.
 Henderson, CO      com
 80640              720.795.3611




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Eagle Pipe, LLC                                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 WELSPUN                         BRIAN GARNER                                                                                                                             $59,899.24
 TUBULAR LLC
 9301 FRAZIER PIKE               Brian_Garner@wel
 Little Rock, AR                 spun.com
 72206                           501.301.8893
 INSPECTION                      BRITTANY                                                                                                                                 $57,321.00
 OILFIELD                        BULGER
 SERVICES
 PO BOX 679343                   bbulger@lbfoster.c
 Dallas, TX                      om
 75267-9343                      412.928.5689
 SP STEEL                        CECILIA VIGIL                                                                                                                            $57,012.06
 PRODUCTS AND
 SERVICES INC                    cvigil@s-psteelpro
 16510                           ducts.com
 NORTHCHASE DR                   832.614.1782
 Houston, TX 77060
 LIGHTNING                       AMY MCCONWAY                                                                                                                             $53,660.00
 LOGISTICS
 PO BOX 21149                    AMY@LIGHTNING-
 Houston, TX 77226               LOGISTICS.COM
                                 713.255.9100




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                          §
  In re:                                                  §
                                                          §      Chapter 11
  EAGLE PIPE, LLC,                                        §
                                                          §      Case No. 20-____-___-11
            Debtor.                                       §

                              LIST OF EQUITY SECURITY HOLDERS 1

                                                                         Percentage of
                                   Equity Holder
                                                                          Equity Held

                                   Brandon Dewan                             50.456%

                                      Jared Light                            39.644%

                                       JEK, LLC                              9.900%




1
  This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
Bankruptcy Procedure.


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Case 20-34879 Document 1 Filed in TXSB on 10/05/20 Page 12 of 13
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 Fill in this information to identify the case:

 Debtor name         Eagle Pipe, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration                 Voluntary Petition, List of Equity Security Holders


       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on            10/05/2020                            X     /s/ Jared Light
                                                                         Signature of individual signing on behalf of debtor

                                                                           Jared Light
                                                                         Printed name
                                                                           President
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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